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                                                                           Clerk, U.S. District Court, ILCD

                             UNITED STATES DISTRICT COURT
                             CENTRAL DISTRICT OF ILLINOIS
                                   URBANA DIVISION

BARBARA IRWIN, on Behalf of Herself §                 Case No. 14-cv-02275-HAB-DGB
and All Others Similarly Situated,   §
                                     §                AMENDED CLASS ACTION COMPLAINT
                         Plaintiffs, §
                                     §                JURY TRIAL DEMANDED
            v.                       §
                                     §
JIMMY JOHN’S FRANCHISE, LLC, §
JIMMY JOHN’S ENTERPRISES, LLC a/k/a §
JIMMY JOHN’S LLC,                    §
                                     §
                         Defendants. §
                                     §

       Plaintiff Barbara Irwin, by her attorneys and on behalf of herself and all others similarly

situated (the “Class”), bring this action against Defendants Jimmy John’s Franchise, LLC, and

Jimmy John’s Enterprises, LLC (“Defendants” or “Jimmy John’s” or collectively the

“Company”). Plaintiff alleges the following based upon personal knowledge as to herself and

her own acts, and information and belief as to all other matters based upon, inter alia, an

investigation conduct by itself and through its attorneys.

                                  NATURE OF THE ACTION

       1.      Plaintiff brings this class action against Jimmy John’s for failure to secure and

safeguard its customers’ personal and financial data, including credit and debit card information,

and for failing to expediently inform Plaintiff and the Class that Jimmy John’s had experienced a

data breach and that the Plaintiffs’ personal financial information had been acquired by a an

unauthorized person.




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        2.      Defendants own, operate and/or control a franchised chain of sandwich

restaurants with over 2,000 locations nationwide and/or control the implementation, servicing,

and execution of each of the franchised restaurants customer sales transactions systems.

        3.      Beginning approximately June 16, 2014 unidentified perpetrators accessed and

monitored the point-of-sale (POS) systems of no less than 216 locations owned or franchised by

Defendants (the “Data Breach”). As a result of the Data Breach, the perpetrators obtained

personal and financial information of thousands of individuals, information which includes, but

is not limited to, credit and debit card numbers, cardholder names, verification codes, and/or card

expiration dates.

        4.      Although Defendants learned of the breach by at least July 30, 2014, the breach

continued throughout August and into September. And, despite its knowledge, Defendants did

not any attempt to inform Plaintiff or the Class of the Data Breach until the end of September

2014. Finally on September 24, 2014, the Company issued a public press release acknowledging

that its customers’ credit and debit card data were compromised as a result of a remote intrusion

into Defendant’s POS. In the press release, Defendants admitted that the Data Breach was

ongoing from between June 16, 2014 and September 5, 2014.

        5.      The security breach, and the failure to promptly discover and block the Data

Breach, was the result of Jimmy John’s grossly inadequate information systems and security

oversight. These failures enabled the perpetrators to obtain customers’ financial data from

Jimmy John’s and subsequently use this information to steal from Jimmy John’s customers’

accounts. Jimmy John’s failures further put the Class members at serious risk of ongoing

financial loss and identity theft.




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                                             PARTIES



       6.      Plaintiff Barbara Irwin is a citizen of the State of Arizona residing in Glendale,

Arizona.

       7.      Defendant Jimmy John’s Franchise, LLC is a Delaware limited liability company

with its principal place of business in Champaign, Illinois that controls, contracts with and/or

operates sandwich restaurants and franchises within the state of Arizona.

       8.      Jimmy John’s Enterprises, LLC a/k/a Jimmy John’s, LLC is a Delaware principal

place of business in Champaign, Illinois that controls, contracts with and/or operates sandwich

restaurants and franchises within the state of Arizona. To conduct business in Arizona, Jimmy

John’s Enterprises maintains a registered office in Phoenix, Arizona and operates in Arizona,

Arizona under the registered trade name of Jimmy John’s Gourmet Sandwiches.

       9.      Jimmy John’s Franchise, LLC and Jimmy John’s Enterprises, LLC is collectively

referred to herein as “Jimmy John’s” or the “Company.”

                                     JURISDICTION AND VENUE

       10.     This Court has original jurisdiction over this action under the Class Action

Fairness Act, 28 U.S.C. § 1332(d)(2). The matter in controversy, exclusive of interest and costs,

exceeds the sum or value of $5,000,000 and Plaintiff, and other members of the proposed Class,

are citizens of a state different from Defendant.

       11.     This Court has personal jurisdiction over Jimmy John’s because the Company is

registered with the Illinois Secretary of State to conduct business in the State of Illinois, has

substantial or continuous and systematic contacts through its headquarters located in Champaign,

Illinois and maintains stores and employees in the State of Illinois.



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       12.     Venue is proper in this Court pursuant to 28 U.S.C. § 1391 in that many of the

acts and transactions giving rise to this action occurred in this district and because defendant:

               a. is authorized to conduct business in this district and has intentionally availed

       itself of the laws and markets within this district through the promotion, marketing,

       distribution and sale of its products in this district;

               b. does substantial business in this district;

               c. maintains its headquarters in this district; and

               c. is subject to personal jurisdiction in this district.

                            COMMON FACTUAL ALLEGATIONS

       13.     According to the Company’s website, the Company has grown to more than 2,000

locations in 43 states. Of these, 200 have opened per year over the past 3 years and as of 2013,

98% of locations were franchise-owned.

       14.     When consumers make purchases at the Company’s stores using credit or debit

cards, the Company collects information related to that card including the card holder name, the

account number, expiration date, card verification value (CVV), and PIN for debit cards. The

Company stores this information in its point-of-sale system and transmits this information to a

third party for completion of the payment. Upon information and belief, the Company also

collects and stores customer names, mailing addresses, phone numbers, and email addresses.

       15.     While the Company’s collection of customer information may itself be legal, by

collecting and storing such extensive and detailed customer information, the Company creates an

obligation for itself to use every means available to it to protect this information from falling into

the hands of identity thieves and other criminals.




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       16.     Between approximately June 16, 2014 and through September 5, 2014,

unauthorized third parties, commonly referred to as computer hackers, began to monitor and

scrape data from at least 216 POS terminals at Defendant’s owned or franchised locations. As a

result of the intrusion, personal and/or financial information of thousands, if not tens of

thousands, of consumers stored by the Company was compromised.

       17.     According to Defendants, on July 30, 2014, Jimmy John’s learned of the security

incident affecting its POS system, and purported to begin an investigation into the breach.

       18.     On July 31, 2014, the first public report of the Company’s data breach was made

– not by Jimmy John’s itself, but by computer security blogger Brian Krebs on his website,

KrebsOnSecurity, an online security blog watched by the security industry. In the report, Krebs

reported that multiple banks were seeing a pattern of fraud on cards recently used at Jimmy

John’s locations around the country.

       19.     The Data Breach continued through at least September 5, 2014.

       20.     Defendants failed to promptly and adequately notify its customers of the Data

Breach.   Finally, on September 24, 2014, the Company issued a press release informing

customers that “it appears that customers’ credit and debit card data were compromised after an

intruder . . . remotely access[ed] the point-of-sale systems at some corporate and franchised

locations between June 16, 2014 and September 5, 2014.”

       21.     The September 24, 2014 Press Release means of notifying the Class of the Data

Breach was not only belated but entirely inadequate. Upon information and belief, Defendants’

failed to alert customers of the breach individually through the direct means of communication it

has with its customers, including through its large database of customer email addresses or

indirect means through its Facebook or Twitter accounts. Although Defendants provided a link



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to further information on the breach on its webpage home through a link titled “Data Security

Incident,” the location and manner of alert was not conspicuous but instead was buried below the

means the website is prominently used (for placing orders), under large scrolling pictures

marketing its business, and utilized a font that was the same size and color of that of other links

on its homepage (red). Defendants’ failure to provide adequate notice prevented Class members

from being able to take action to prevent harm from the Data Breach.

        22.        The personal and financial information of consumers, including Consumer

Plaintiff and Class members, is valuable.

        23.        The FTC warns consumers to pay particular attention to how they keep personally

identifying information: Social Security numbers, credit card or financial information, and other

sensitive data. As the FTC notes, “[t]hat’s what thieves use most often to commit fraud or

identity theft.”

        24.        The information stolen from Jimmy John’s, including Plaintiff’s and Class

members’ financial and personal information is extremely valuable to thieves. As the FTC

recognizes, once identity thieves have personal information, “they can drain your bank account,

run up your credit cards, open new utility accounts, or get medical treatment on your health

insurance.”

        25.        Personal and financial information such as that stolen in Jimmy John’s data

breach is highly coveted by and a frequent target of hackers. Legitimate organizations and the

criminal underground alike recognize the value of such data. Otherwise, they would not pay for

or maintain it, or aggressively seek it. Criminals seek personal and financial information of

consumers because they can use biographical data to perpetuate more and larger thefts.




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       26.    Hackers use the credit card information to create counterfeit credit cards that can

be swiped and used to make purchases as if they were real credit cards. Additionally, the thieves

could reproduce stolen debit cards and use them to withdraw cash from ATMs.

       27.    Equally troubling is that Jimmy John’s was utilizing a point-of-sale system that

did not meet basic security requirements set forth by the PCI Security Standards Council. The

Company used software developed by Signature Systems called PDQ POS. PDQ was not

approved for new installations after October 28, 2013. Additionally, the Company that

performed the security audit on PDQ, defunct firm Chief Security Officers, is the only qualified

security assessment firm to have had their certification authority revoked by the PCI Security

Standards Council.

       28.    A number of retailers, banks and card companies have responded to recent

security breaches by adopting the use of microchips in U.S. credit and debit cards to make

transactions more secure. The Company did not have any such technology in place at any time

during the Breach.

       29.    The Breach was caused and enabled by Defendant’s knowing violation of its

obligations to abide by best practices and industry standards in protecting customers’ personal

information. The Company grossly failed to comply with security standards and allowed its

customers’ financial information to be compromised, all in an effort to save money by cutting

corners on security measures that could have prevented or mitigated the Breach that occurred.

       30.    Defendant’s failure to comply with reasonable security standards provided the

Company with short-term and fleeting benefits in the form of saving on the costs of compliance,

but at the expense and to the severe detriment of its own customers – including Class members




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here – who have been subject to the Breach or otherwise have had their financial information

placed at serious and ongoing risk.

       31.     The Company allowed widespread and systematic theft of its customers’ financial

information. Defendant’s actions did not come close to meeting the standards of commercially

reasonable steps that should be taken to protect customers’ financial information.

                         PLAINTIFF’S FACTUAL ALLEGATIONS

       32.     On numerous occasions beginning July 3, 2014 through August 4, 2014, Plaintiff

Barbara Irwin caused her credit and debit cards to be swiped at a point-of-sale terminal operated

by Jimmy John’s so that she could complete purchases from Jimmy John’s located in Arizona.

From August 25, 2014 through September 2, 2014, Ms. Irwin was the direct victim of credit card

fraud stemming from five fraudulent charges to the credit card that she used during the aforesaid

transactions at Jimmy John’s. Upon information and belief, the personal information and credit

card data of Plaintiff Irwin used in this fraudulent charge was obtained as the result of Jimmy

John’s breach. As a result of the fraud, Ms. Irwin was subjected to expenses and the denial of

the use of credit card she routinely used. In particular, Ms. Irwin had used a credit card through

which she received cash back rewards for using. For a period of approximately 10 days, Ms.

Irwin was unable to use this card as the account had been cancelled and a new card reissued as a

result of the data breach and fraud. During this period, Ms. Irwin used cash to make purchases

and did not earn the cash back rewards that she would have earned but for the cash back card

being cancelled due to the data breach and fraud. Ms. Irwin expended substantial time in order

to reverse the fraudulent charges on her card. In fact, one of the fraudulent charges that was

initially refunded to Ms. Irwin was reinstated on her card requiring additional efforts to obtain

reversal. Ms. Irwin expended monies and time traveling to the police station to file a police



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report of the fraud as instructed by her bank. Ms. Irwin has also incurred greater out of pocket

expenses to pay interest on loans that are of a significantly higher interest rate than those she had

been able to obtain prior to the fraud. Specifically, while attempting to purchase a new car after

the fraud, Ms. Irwin was declined by no less than 7 banks due to the fraud, and Ms. Irwin

ultimately was only able to obtain a loan at approximately 8% on the $30,000.00 vehicle she

financed. Ms. Irwin has also been denied access to credit as requests for credit cards have

repeatedly been rejected. Prior to the breach, Ms. Irwin was able to obtain loans at favorable

rates and had not experienced any difficulties in obtaining loans or new credit cards. Ms. Irwin’s

credit scores, credit history and income all support her obtaining credit favorably. Ms. Irwin’s

decline in access to competitive credit was the result of the breach.

       33.     Plaintiff believed that Jimmy John’s would maintain the personal and financial

information contained on the financial cards used in their Jimmy John’s purchases in a

reasonably secure manner and provided their card to Jimmy John’s on that basis. Had Plaintiff

known that Jimmy John’s would not maintain each of their information in a reasonably secure

manner, she would not have allowed her financial cards to be swiped at The Company’s point-

of-sale terminal.

       34.     Plaintiff’s personal information associated with each of their debit or credit cards

was compromised in and as a result of Jimmy John’s data breach. Plaintiff was harmed by

having her financial and personal information compromised and faces the imminent and certainly

impending threat of future additional harm from the increased threat of identity theft and fraud

due to her financial and personal information being sold on the Internet black market and/or

misused by criminals.




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                                  CLASS ACTION ALLEGATIONS

       35.     Pursuant to Fed. R. Civ. P. 23, Plaintiff brings her claims that the Company

violated state data breach statutes (Count I) on behalf of separate statewide classes in and under

the respective data breach statutes of the States of Alaska, Arkansas, Arizona, California,

Colorado, Connecticut, Delaware, Florida, Georgia, Hawaii, Idaho, Illinois, Iowa, Kansas,

Kentucky, Louisiana, Maryland, Massachusetts, Michigan, Minnesota, Montana, Nebraska,

Nevada, New Hampshire, New Jersey, North Carolina, North Dakota, Oklahoma, Oregon,

Pennsylvania, Rhode Island, South Carolina, Tennessee, Texas, Utah, Virginia, Washington,

Wisconsin and Wyoming, and the District of Columbia. These classes are defined as follows:

               Statewide Data Breach Statute Classes:

               All residents of [name of State or District of Columbia] who made an in-
               store purchase at Jimmy John’s in the United States using a credit or debit
               card at any time between the beginning of the Data Breach through the
               period the breach was secured or September 24, 2104, whichever is later.

       36.     Pursuant to Fed. R. Civ. P. 23, Plaintiff brings separate claims for breach of

implied contract (Count III), bailment (Count IV), negligence (Count V), unjust enrichment

(Count VI), violation of the on the Arizona Consumer Fraud Act, A.R.S. 44-151, et seq. (Count

VII), and violation of the Illinois Consumer Fraud and Deceptive Business Practices Act, 815

ILCS 505/1, et seq. (Count VIII), on behalf of the respective statewide classes in and under the

laws of each respective State of the United States and the District of Columbia as set forth in

Counts III, IV, V, VI, VII, and VIII. These classes for each of the foregoing claims are defined as

follows:

               Statewide [Breach of Implied Contract, Bailment or Unjust
               Enrichment] Class:

               All residents of [name of State or District of Columbia] who made an in-
               store purchase at Jimmy John’s in the United States using a credit or debit

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               card at any time between the beginning of the Data Breach through the
               period the breach was secured or September 24, 2104, whichever is later.

       37.     Plaintiff further seeks to represent, and assert a claim for violation of the Arizona

Consumer Fraud Act, A.R.S. 44-151, et seq. on behalf of, a subclass defined as:

               All Class members who reside in the State of Arizona or made an in-store
               purchase at a Jimmy John’s located in the State of Arizona using a debit or
               credit card (the “Arizona Subclass”) at any time between the beginning of
               the Data Breach through the period the breach was secured or September
               24, 2104, whichever is later (the “Arizona Subclass”).

       38.     Plaintiff further seeks to represent, and assert a claim for violation of Illinois

Consumer Fraud and Deceptive Business Practices Act, 815 ILCS 505/1, et seq. (Count VIII), on

behalf of, a subclass defined as:

               All Class members who reside in the State of Illinois or made an in-store
               purchase at a Jimmy John’s located in the State of Illinois using a debit or
               credit card (the “Illinois Subclass”) at any time between the beginning of
               the Data Breach through the period the breach was secured or September
               24, 2104, whichever is later (the “Illinois Subclass”).

       39.     Plaintiff further seeks to represent, and assert a claim for violation of Illinois

Personal Information Protection Act, 815 ILCS 530/1, et seq. (Count II), and for Declaratory

Judgment (Count IX), on behalf of herself, the Arizona subclass and a nationwide class, defined

as:

                  All Class members who reside in the United States of America and
                  made an in-store purchase at a Jimmy John’s located in the United
                  States of America using a debit or credit card at any time between the
                  beginning of the Data Breach through the period the breach was
                  secured or September 24, 2104, whichever is later (the “PIPA
                  Nationwide Class”).


       40.     Excluded from each of the above Classes are Jimmy John’s, Inc., including any

entity in which Jimmy John’s has a controlling interest, is a parent or subsidiary, or which is

controlled by Jimmy John’s, as well as the officers, directors, affiliates, legal representatives,

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heirs, predecessors, successors, and assigns of Jimmy John’s. Also excluded are the judges and

court personnel in this case and any members of their immediate families.

       41.       Certification of Plaintiff’s claims for class-wide treatment is appropriate because

Plaintiff can prove the elements of the claims on a class wide basis using the same exclusive and

common evidence as would be used to prove those elements in individual actions alleging the

same claims.

       42.       All members of the purposed Classes are readily ascertainable. Jimmy John’s has

access to addresses and other contact information for thousands of members of the Class, which

can be used for providing notice to many Class members.

       43.       Numerosity. Plaintiff does not know the exact number of Class members but

believe that the Class comprises thousands if not tens of thousands of consumers throughout

these United States. As such, Class members are so numerous that joinder of all members is

impracticable.

       44.       Commonality and predominance. Well-defined, nearly identical legal or factual

questions affect all Class members. These questions predominate over questions that might affect

individual Class members. These common questions include, but are not limited to, the

following:

                 a. Whether there was an unauthorized disclosure by Defendants of Class

                    members’ personal and/or financial information;

                 b. Whether Defendants enabled an unauthorized disclosure of Class members’

                    personal and/or financial information;

                 c. Whether Defendants misrepresented the safety and security of Class

                    members’ personal and/or financial information maintained by Defendant;



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d. Whether Defendants implemented and maintained reasonable procedures and

     practices appropriate for maintaining the safety and security of Class

     members’ personal and/or financial information;

e. When Defendants became aware of an unauthorized disclosure of Class

     members’ personal and/or financial information;

f. Whether Defendants unreasonably delayed notifying Class members of an

     unauthorized disclosure of Class members’ personal and/or financial

     information;

g. Whether Defendants intentionally delayed notifying Class members of an

     unauthorized disclosure of Class members’ personal and/or financial

     information;

h. Whether Defendants’ conduct was negligent;

i.   Whether Defendants’ conduct was deceptive;

j.   Whether Defendants’ conduct was knowing, willful, intentional, and/or

     malicious;

k. Whether Defendants’ conduct constitutes breach of an implied contract;

l.   Whether Defendants’ violated the Stored Communications Act, 18.U.S.C.

     §2702;

m. Whether Defendants violated the Arizona Consumer Fraud Act, A.R.S. 44-

     151, et seq.;

n. Whether Defendants violated the Illinois Consumer Fraud and Deceptive

     Business Practices Act, 815 ILCS 505/1, et seq.; and




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                o. Whether Plaintiff and the Class are entitled to damages, civil penalties,

                   punitive damages, and/or injunctive relief.

          45.   Typicality. Plaintiff’s claims are typical of the claims of the Class. Plaintiff and

all Class members were injured through the Company’s misconduct described above and assert

the same claims for relief. The same events and conduct that give rise to Plaintiff’s claims are

identical to those that give rise to the claims of every other Class member because Plaintiff and

each Class member is a person that has suffered harm as a direct result of the same conduct (and

omissions of material facts) engaged in by Jimmy John’s and resulting in Jimmy John’s data

breach.

          46.   Adequacy. Plaintiff will fairly and adequately protect Class members’ interests.

Plaintiff has no interests antagonistic to Class members’ interests, and Plaintiff has retained

counsel that has considerable experience and success in prosecuting complex class action and

consumer protection cases.

          47.   Superiority. A class action is superior to all other available methods for fairly and

efficiently adjudicating the claims of Plaintiff and the Class members. Plaintiff and the Class

members have been harmed by the Company’s wrongful actions and inaction. Litigating this

case as a class action will reduce the possibility of repetitious litigation relating to the

Company’s wrongful actions and inaction.

          48.   A class action is an appropriate method for the fair and efficient adjudication of

this controversy. There is no special interest in the members of the Class individually controlling

the prosecution of separate actions. The loss of money and other harm sustained by many

individual Class members will not be large enough to justify individual actions, especially in

proportion to the significant costs and expenses necessary to prosecute this action. The expense



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and burden of individual litigation makes it impossible for many members of the Class

individually to address the wrongs done to them. Class treatment will permit the adjudication of

claims of Class members who could not afford individually to litigate their claims against the

Company. Class treatment will permit a large number of similarly situated persons to prosecute

their common claims in a single form simultaneously, efficiently, and without duplication of

effort and expense that numerous individual actions would entail. No difficulties are likely to be

encountered in the management of this class action that would preclude its maintenance as a

class action, and no superior alternative exists for the fair and efficient adjudication of this

controversy. Furthermore, Jimmy John’s transacts substantial business in and perpetuated its

unlawful conduct in Arizona. Jimmy John’s will not be prejudiced or inconvenienced by the

maintenance of this class action in this forum.

       49.     Class certification, therefore, is appropriate under Fed. R. Civ. P. 23(a) and (b)(3).

The above common questions of law or fact predominate over any questions affecting individual

members of the Class, and a class action is superior to other available methods for the fair and

efficient adjudication of the controversy.

       50.     Class certification is also appropriate under Fed. R. Civ. P. 23(a) and (b)(2),

because the Company has acted or has refused to act on grounds generally applicable to the

Class, so that final injunctive relief or corresponding declaratory relief is appropriate as to the

Class as a whole.

       51.     The expense and burden of litigation will substantially impair the ability of

Plaintiff and Class members to pursue individual lawsuits to vindicate their rights. Absent a class

action, Jimmy John’s will retain the benefits of its wrongdoing despite its serious violations of

the law.



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                                               COUNT I
                               Violations of State Data Breach Statutes
                (on behalf of Plaintiff and the separate statewide data breach statute
                                                Classes)

       52.     Plaintiff realleges and incorporates by reference every allegation set forth in the

preceding paragraphs as though alleged in this Count.

       53.     Legislatures in the states and jurisdictions listed below have enacted data breach

statutes. These statutes generally require that any person or business conducting business within

the state that owns or licenses computerized data that includes personal information shall

disclose any breach of the security of the system to any resident of the state whose personal

information was acquired by an unauthorized person, and further require that the disclosure of

the breach be made in the most expedient time possible and without unreasonable delay.

       54.     Jimmy John’s data breach constitutes a breach of the security system of the

Company within the meaning of the below state data breach statutes and the data breached is

protected and covered by the below data breach statutes.

       55.     Plaintiff’s and Class members’ names, credit and debit card numbers, card

expiration dates, CVVs addresses, phone numbers and email addresses constitute personal

information under and subject to the below state data breach statutes.

       56.     Jimmy John’s unreasonably delayed in informing the public, including Plaintiff

and members of the statewide Data Breach Statute Classes (“Class,” as used in this Count I),

about the breach of security of Plaintiff’s and Class members’ confidential and non-public

personal information after Jimmy John’s knew or should have known that the data breach had

occurred.

       57.     Jimmy John’s failed to disclose to Plaintiff and Class members without

unreasonable delay and in the most expedient time possible, the breach of security of Plaintiff’s

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and Class members’ personal and financial information when the Company knew or reasonably

believed such information had been compromised.

       58.     Plaintiff and members of the Class suffered harm directly resulting from the

Company’s failure to provide and the delay in providing Plaintiff and Class members with timely

and accurate notice as required by the below state data breach statutes. Plaintiff suffered the

damages alleged above as a direct result of the Company’s delay in providing timely and

accurate notice of the data breach.

       59.     Had Jimmy John’s provided timely and accurate notice of the Company’s data

breach, Plaintiff and Class members would have been able to avoid and/or attempt to ameliorate

or mitigate the damages and harm resulting in the unreasonable delay by the Company in

providing notice. Plaintiff and Class members could have avoided making credit or debit card

purchases at the Company’s stores, could have avoided shopping at the Company’s stores at all,

and could have contacted their banks to cancel their cards, or could otherwise have tried to avoid

the harm caused by the Company’s delay in providing timely and accurate notice.

       60.     The Company’s failure to provide timely and accurate notice of Jimmy John’s

data breach violated the following state data breach statutes:

               a. Alaska Stat. Ann. § 45.48.010(a), et seq.;

               b. Ark. Code Ann. § 4-110-105(a), et seq.;

               c. Ariz. Rev. Stat. § 44-7501, et seq.;

               d. Cal. Civ. Code § 1798.83(a), et seq.;

               e. Colo. Rev. Stat. Ann § 6-1-716(2), et seq.;

               f. Conn. Gen. Stat. Ann. § 36a-701b(b), et seq.;

               g. Del. Code Ann. Tit. 6 § 12B-102(a), et seq.;



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h. D.C. Code § 28-3852(a), et seq.;

i.   Fla. Stat. Ann. § 501.171(4), et seq.;

j.   Ga. Code Ann. § 10-1-912(a), et seq.;

k. Haw. Rev. Stat. § 487N-2(a), et seq.;

l.   Idaho Code Ann. § 28-51-105(1), et seq.;

m. Ill. Comp. Stat. Ann. 530/10(a), et seq.;

n. Iowa Code Ann. § 715C.2(1), et seq.;

o. Kan. Stat. Ann. § 50-7a02(a), et seq.;

p. Ky. Rev. Stat. Ann. § 365.732(2), et seq.;

q. La. Rev. Stat. Ann. § 51:3074(A), et seq.;

r. Md. Code Ann., Commercial Law § 14-3504(b), et seq.;

s. Mass. Gen. Laws Ann. Ch. 93H § 3(a), et seq.;

t. Mich. Comp. Laws Ann. § 445.72(1), et seq.;

u. Minn. Stat. Ann. § 325E.61(1)(a), et seq.;

v. Mont. Code Ann. § 30-14-1704(1), et seq.;

w. Neb. Rev. Stat. Ann. § 87-803(1), et seq.;

x. Nev. Rev. Stat. Ann. § 603A.220(1), et seq.;

y. N.H. Rev. Stat. Ann. § 359-C:20(1)(a), et seq.;

z. N.J. Stat. Ann. § 56:8-163(a), et seq.;

aa. N.C. Gen. Stat. Ann. § 75-65(a), et seq.;

bb. N.D. Cent. Code Ann. § 51-30-02, et seq.;

cc. Okla. Stat. Ann. Tit. 24 § 163(A), et seq.;

dd. Or. Rev. Stat. Ann. § 646A.604(1), et seq.;



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               ee. Pa. 73 Stat. § 2301, et sq.;

               ff. R.I. Gen. Laws Ann. § 11-49.2-3(a), et seq.;

               gg. S.C. Code Ann. § 39-1-90(A), et seq.;

               hh. Tenn. Code Ann. § 47-18-2107(b), et seq.;

               ii. Tex. Bus. & Com. Code Ann. § 521.053(b), et seq.;

               jj. Utah Code Ann. § 13-44-202(1), et seq.;

               kk. Va. Code. Ann. § 18.2-186.6(B), et seq.;

               ll. Wash. Rev. Code Ann. § 19.255.010(1), et seq.;

               mm.     Wis. Stat. Ann. § 134.98(2), et seq.; and

               nn. Wyo. Stat. Ann. § 40-12-502(a), et seq.

       61.     Plaintiff and members of each of the statewide Data Breach Statute Classes seek

all remedies available under their respective state data breach statutes, including but not limited

to a) damages suffered by Plaintiff and Class members as alleged above, b) equitable relief,

including injunctive relief, and c) reasonable attorney fees and costs, as provided by law.

                                              COUNT II
       Violation of the Illinois Personal Information Protection Act, 815 ILCS 530/1, et seq.
                      (on behalf of Plaintiff and the PIPA Nationwide Class)

       62.      Plaintiff realleges and incorporates by reference every allegation set forth in the

preceding paragraphs as though alleged in this Count.

       63.     Plaintiff and members of the PIPA Nationwide Class (“Class” as used in this

Count II) provided their financial and personal information to Jimmy John’s in order to make

purchases at the Company’s stores.

       64.     The Illinois Personal Information Protection Act, 815 ILCS 530/1, et seq.

(“PIPA”) requires that businesses that maintain or store personal information and financial data



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such as that provided by Plaintiffs and the Class must provide immediate notification to the

owners or licensees of such data in the event of a security breach, and cooperate with the owners

and licensees thereafter. Specifically, PIPA provides, in relevant part:

         Sec. 10. Notice of Breach.

         (b)    Any data collector that maintains or stores, but does not own or license,
                computerized data that includes personal information that the data
                collector does not own or license shall notify the owner or licensee of the
                information of any breach of the security of the data immediately
                following discovery, if the personal information was, or is reasonably
                believed to have been, acquired by an unauthorized person. . . .

         65.    Under 815 ILCS 530/5, Jimmy Johns is, and at all relevant times was, a Data

Collector in that it is a private corporation or retail operator that for any purpose “handles,

disseminates, or otherwise deals with nonpublic personal information.” Specifically, Jimmy

John’s was a Data Collector that maintained or stored, but did not own or license, the

computerized data that included the personal information of Plaintiff and the members of the

Class.

         66.    The personal information obtained from Plaintiff and the members of the Class by

Jimmy John’s was “Personal information” under 815 ILCS 530/5 as it contained each class

members’ first name or initial, and last name, in combination with a credit or debit card number.

         67.    At all relevant times, the Plaintiff and members of the Class were the owners or

licensees of their respective Personal information.

         68.    As alleged herein, Jimmy John’s was subject of a “breach of the security of the

system data” owned, operated or controlled by Jimmy Johns. 815 ILCS 530/5.

         69.    Jimmy John’s, as a Data Collector that maintained or stored, but did not own or

license, computerized data the personal information of Plaintiff and the members of the class,

and had suffered a breach of its security of the system data, was required pursuant to 815 ILCS

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530/10(b) to notify the Plaintiff and members of the Class immediately of the breach of Jimmy

John’s system data containing Plaintiff and the members of the Class’ Personal information upon

discovery of the breach by Jimmy John’s. Jimmy John’s was further required to cooperate with

the Plaintiff and each member of the Class.

       70.     Jimmy John’s violated 815 ILCS 530/10(b), as alleged herein.

       71.     It was foreseeable that Jimmy John’s failure to comply with PIPA would subject

Plaintiff and the PIPA Nationwide Class to risk that their information would be further

compromised by unscrupulous third parties, and Jimmy John’s unlawful conduct did, in fact,

result in such occurring.

       72.     The losses and damages sustained by Plaintiff and Class members as described

herein were the actual and proximate result of the Company’s breaches of the implied contracts

between Jimmy John’s and Plaintiff and members of the Class.

                                               COUNT III
                                       Breach of Implied Contract
             (on behalf of Plaintiff and the separate statewide breach of implied contract
                                                Classes)

       73.     Plaintiff realleges and incorporates by reference every allegation set forth in the

preceding paragraphs as though alleged in this Count.

       74.     When Plaintiff and members of the Breach of Implied Contract Classes (“Class”

as used in this Count III) provided their financial and personal information to Jimmy John’s in

order to make purchases at the Company’s stores, Plaintiff and members of the Class entered into

implied contracts with the Company pursuant to which the Company agreed to safeguard and

protect such information and to timely and accurately notify Plaintiff and Class members that

their data had been breached and compromised.




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          75.   Jimmy John’s solicited and invited Plaintiff and members of the Class to purchase

products at Jimmy John’s stores using their credit or debit cards. Plaintiff and members of the

Class accepted the Company’s offers and used their credit or debit cards to purchase products at

the Company’s stores during the period of the Company’s data breach.

          76.   Each purchase made at a Jimmy John’s store by Plaintiff and members of the

Class using their credit or debit card was made pursuant to the mutually agreed upon implied

contract with the Company under which the Company agreed to safeguard and protect Plaintiff’s

and Class members’ personal and financial information, including all information contained in

the magnetic stripe of Plaintiff’s and Class members’ credit or debit cards, and to timely and

accurately notify them that such information was compromised and breached.

          77.   Plaintiff and Class members would not have provided and entrusted their financial

and personal information, including all information contained in the magnetic stripes of their

credit and debit cards, to Jimmy John’s in order to purchase products at the Company’s stores in

the absence of the implied contract between them and the Company.

          78.   Plaintiff and members of the Class fully performed their obligations under the

implied contracts with Jimmy John’s.

          79.   Jimmy John’s breached the implied contracts it made with Plaintiff and Class

members by failing to safeguard and protect the personal and financial information of Plaintiff

and members of the Class and by failing to provide timely and accurate notice to them that their

personal and financial information was compromised in and as a result of the Company’s data

breach.




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       80.     The losses and damages sustained by Plaintiff and Class members as described

herein were the direct and proximate result of The Company’s breaches of the implied contracts

between Jimmy John’s and Plaintiff and members of the Class.

       81.     Wherefore, Plaintiff prays for relief as set forth below.

                                              COUNT IV
                                               Bailment
                 (On behalf of Plaintiff and the separate statewide bailment classes.)

       82.     Plaintiff realleges and incorporates by reference every allegation set forth in the

preceding paragraphs as though alleged in this Count.

       83.     Plaintiff and members of the separate statewide Bailment Classes (“Class” as used

in this Count IV) delivered their personal and financial information, including the information

contained on the magnetic stripes of their credit or debit cards, to Jimmy John’s for the exclusive

purpose of making purchases from the Company at the Company’s stores.

       84.     In delivering their personal and financial information to Jimmy John’s, Plaintiff

and Class members intended and understood that the Company would adequately safeguard their

personal and financial information.

       85.     Jimmy John’s accepted possession of Plaintiff’s and Class members’ personal and

financial information for the purpose of accepting payment for goods purchased by Plaintiff and

members of the Class at the Company’s stores.

       86.     By accepting possession of Plaintiff’s and Class members’ personal and financial

information, Jimmy John’s understood that Plaintiff and Class members expected the Company

to adequately safeguard their personal and financial information. Accordingly, a bailment (or

deposit) was established for the mutual benefit of the parties.




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       87.     During the bailment (or deposit), Jimmy John’s owed a duty to Plaintiff and Class

members to exercise reasonable care, diligence and prudence in protecting their personal and

financial information.

       88.     Jimmy John’s breached its duty of care by failing to take appropriate measures to

safeguard and protect Plaintiff’s and Class members’ personal and financial information,

resulting in the unlawful and unauthorized access to and misuse of Plaintiff’s and Class

members’ personal and financial information.

       89.     Jimmy John’s further breached its duty to safeguard Plaintiff’s and Class

members’ personal and financial information by failing to timely and accurately notify them that

their information had been compromised as a result of the Company’s data breach.

       90.     Jimmy John’s failed to return, purge or delete the personal and financial

information of Plaintiff and members of the Class at the conclusion of the bailment (or deposit)

and within the time limits allowed by law.

       91.     As a direct and proximate result of the Company’s breach of its duty, Plaintiff and

Class members suffered consequential damages that were reasonably foreseeable to Jimmy

John’s, including but not limited to the damages set forth above.

       92.     As a direct and proximate result of the Company’s breach of its duty, the personal

and financial information of Plaintiff and Class members entrusted to Jimmy John’s during the

bailment (or deposit) was damaged and its value diminished.

       93.     Wherefore, Plaintiff prays for relief as set forth below.




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                                               COUNT V
                                               Negligence
                 (On behalf of Plaintiff and the separate statewide negligence classes.)

        94.      Plaintiff realleges and incorporates by reference every allegation set forth in the

preceding paragraphs as though alleged in this Count.

        95.      Jimmy John’s owed numerous duties to Plaintiff and members of the separate

statewide Negligence Classes (“Class” as used in this Count V). Jimmy John’s duties included

the following:

                 a. to exercise reasonable care in obtaining, retaining, securing, safeguarding,

                    deleting and protecting personal and financial data in its possession;

                 b. to protect the Plaintiff and Class members’ personal and financial data using

                    reasonable and adequate security procedures and systems that are compliant

                    with the PCI Security Standards Council standards and consistent with

                    industry-standard practices; and

                 c. to implement processes to quickly detect a data breach and to timely act on

                    warnings about data breaches, including promptly notifying Plaintiff and

                    Class members of the Jimmy John’s data breach.

        96.      Jimmy John’s owed a duty of care not to subject Plaintiff and the members of the

Class, and their accompanying personal and financial data, to an unreasonable risk of harm

because they were foreseeable and probable victims of any inadequate security practices. Jimmy

John’s solicited, gathered, and stored Plaintiff and the Class members’ personal information and

financial data to facilitate sales transactions.

        97.      Jimmy John’s knew, or should have known, of the risks inherent in collecting and

storing personal information and financial data and the importance of adequate security. Jimmy



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John’s received warnings from within and outside the company that hackers routinely attempted

to access such information without authorization. Jimmy John’s also knew about numerous,

well-publicized data breaches by other national retailers.

          98.    Jimmy John’s knew, or should have known, that its computer systems did not

adequately safeguard Plaintiff and the Class members’ personal and financial data.

          99.    Because Jimmy John’s knew that a breach of its systems would damage millions

of its customers, including Plaintiff and the Class members, it had a duty to adequately protect

their personal Information and financial data.

          100.   Jimmy John’s had a special relationship with Plaintiff and the Class members.

Plaintiff’s and Class members’ willingness to entrust Jimmy John’s with their personal

information and financial data was predicated on the understanding that Jimmy John’s would

take adequate security precautions. Moreover, only Jimmy John’s had the ability to protect its

systems and the personal Information and financial data it stored on them from attack.

          101.   Jimmy John’s own conduct also created a foreseeable risk of harm to Plaintiff and

Class members and their Personal Information. Jimmy John’s misconduct included failing to:

(1) secure its point-of-sale systems, despite knowing their vulnerabilities, (2) comply with

industry standard security practices, (3) follow the PCI Security Standards Council standards, (4)

encrypt the personal information and financial data at the point-of-sale and during transit, (5)

employ adequate network segmentation, (6) implement adequate system and event monitoring,

and (7) implement the systems, policies, and procedures necessary to prevent this type of data

breach.




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       102.    Jimmy John’s also had independent duties under state laws that required Jimmy

John’s to reasonably safeguard Plaintiff’s and the Class members’ personal information and

financial data and promptly notify them about the data breach.

       103.    Jimmy John’s breached the duties it owed to Plaintiff and Class members in

numerous ways, including:

               a. by creating a foreseeable risk of harm through the misconduct previously

                   described;

               b. by failing to implement adequate security systems, protocols and practices

                   sufficient to protect their personal information and financial both before and

                   after learning of the data breach;

               c. by failing to comply with the minimum industry data security standards,

                   including the PCI Security Standards Council standards, during the period of

                   the data breach; and

               d. by failing to timely and accurately disclose that their personal information and

                   financial data had been improperly acquired or accessed.

       104.    But for Jimmy John’s wrongful and negligent breach of the duties it owed

Plaintiffs and Class members, their personal information and financial data either would not have

been compromised or they would have been able to prevent some or all of their damages.

       105.    The injury and harm that Plaintiff and Class members suffered (as alleged above)

was the direct and proximate result of Jimmy John’s negligent conduct. Accordingly, Plaintiff

and the Class have suffered injury and are entitled to damages in an amount to be proven at trial.




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                                          COUNT VI
                                      Unjust Enrichment
        (on behalf of Plaintiff and the separate statewide unjust enrichment Classes)

       106.    Plaintiff realleges and incorporates by reference every allegation set forth in the

preceding paragraphs as though alleged in this Count.

       107.    Plaintiff and members of the separate statewide Unjust Enrichment Classes

(“Class” as used in this Count V) conferred a monetary benefit on Jimmy John’s in the form of

monies paid for the purchase of goods from Jimmy John’s during the period of Jimmy John’s

data breach.

       108.    Jimmy John’s appreciates or has knowledge of the benefits conferred directly

upon it by Plaintiff and members of the Class.

       109.    The monies paid for the purchase of goods by Plaintiff and members of the Class

to Jimmy John’s during the period of the Company’s data breach were supposed to be used by

the Company, in part, to pay for the administrative and other costs of providing reasonable data

security and protection to Plaintiff and members of the Class.

       110.    Jimmy John’s failed to provide reasonable security, safeguards and protection to

the personal and financial information of Plaintiff and Class members and as a result, Plaintiff

and Class members overpaid the Company for the goods purchased through use of their credit

and debit cards during the period of the Company’s data breach.

       111.    Under principles of equity and good conscience, Jimmy John’s should not be

permitted to retain the money belonging to Plaintiff and members of the Class, because the

Company failed to provide adequate safeguards and security measures to protect Plaintiff’s and

Class members’ personal and financial information that they paid for but did not receive.




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       112.    As a result of the Company’s conduct as set forth in this Complaint, Plaintiff and

members of the Class suffered damages and losses as stated above, including monies paid for

Jimmy John’s products that Plaintiff and Class members would not have purchased had the

Company disclosed the material fact that it lacked adequate measures to safeguard customers’

data and had the Company provided timely and accurate notice of the data breach, and including

the difference between the price they paid for the Company’s goods as promised and the actual

diminished value of its goods and services.

       113.    Plaintiff and the Class have conferred directly upon Jimmy John’s an economic

benefit in the nature of monies received and profits resulting from sales and unlawful

overcharges to the economic detriment of Plaintiff and the Class.

       114.    The economic benefit, including the monies paid and the overcharges and profits

derived by the Company and paid by Plaintiff and members of the Class, is a direct and

proximate result of the Company’s unlawful practices as set forth in this Complaint.

       115.    The financial benefits derived by the Company rightfully belong to Plaintiff and

members of the Class.

       116.    It would be inequitable under established unjust enrichment principles in the

District of Columbia and all of the 50 states for the Company to be permitted to retain any of the

financial benefits, monies, profits and overcharges derived from The Company’s unlawful

conduct as set forth in this Complaint.

       117.    Jimmy John’s should be compelled to disgorge into a common fund for the

benefit of Plaintiff and the Class all unlawful or inequitable proceeds received by the Company.

       118.    A constructive trust should be imposed upon all unlawful or inequitable sums

received by the Company traceable to Plaintiff and the Class.



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       119.    Plaintiff and the Class have no adequate remedy at law.

       120.    Wherefore, Plaintiff prays for relief as set forth below.

                                             COUNT VII
                Violation of the Arizona Consumer Fraud Act, A.R.S. 44-151, et seq.
                          (on behalf of Plaintiff and the Arizona Subclass)

       121.    Plaintiff realleges and incorporates by reference every allegation set forth in the

preceding paragraphs as though alleged in this Count.

       122.    Plaintiff asserts Count VII on behalf of herself and the members of the Arizona

Subclass.

       123.    Cashless purchases, including those made with a debit or credit card, comprise a

significant portion of retail purchases, and enable retailers to maximize their sales by providing

customers payment alternatives.

       124.    Jimmy John’s offered and advertised its POS systems at each of the Jimmy John’s

location to induce the Plaintiff and members of the Arizona Subclass to make purchases from

Jimmy John’s utilizing the POS. Jimmy John’s intended for Plaintiff and the other members of

the Arizona Subclass to rely on Jimmy John’s to protect, secure, and prevent access from

unauthorized third parties the personal and financial information furnished to it by Plaintiff and

the Arizona Subclass in connection with their debit and credit card transactions.

       125.    Instead, Jimmy John’s knowingly, and intentionally, maintained an insecure POS

system that, along with inadequate oversight of its information systems, was inadequate to

effectively protect Plaintiff and the Arizona Subclass members’ financial and personal

information from being compromised.




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       126.    Jimmy John’s either willfully failed to follow industry best practices concerning

data theft or was negligent in preventing such data theft from occurring, and concealed, omitted

and misrepresented this fact from Plaintiff and the Arizona Subclass.

       127.    Jimmy John’s benefited from maintaining an insecure and susceptible POS

system that exposed its customers’ financial information to theft by not having to make

significant one-time and going expenditures to purchase, implement and maintain adequate

measures that that would have prevented the data from being compromised, or limited the extent

of the breach through early detection.

       128.    Jimmy John’s fraudulent and deceptive acts and omissions were intended to

induce Plaintiff and the other Arizona Subclass members’ reliance on Jimmy John’s deception

that their financial information was secure and protected when using debit and credit cards to

make purchases from Jimmy John’s.

       129.    Plaintiff and the members of the Arizona Subclass were deceived by Jimmy

John’s failure to properly implement adequate, commercially reasonable security measures to

protect their private financial information.

       130.    Plaintiff and the Arizona Subclass were induced as a result of Defendants’

unlawful conduct to use their credit or debit cards by utilizing Jimmy John’s POS system in

connection with the sale by Jimmy John’s of its products to Plaintiff and the Arizona Subclass.

       131.    Jimmy John’s violated A.R.S. § 44-1522(A) by failing to properly implement

adequate, commercially reasonable security measures to protect Plaintiff’s and the other Arizona

Subclass members’ private financial information.

       132.    Jimmy John’s failure to maintain reasonable and appropriate means to protect

consumers’ personal and financial information, and failure to promptly notify consumers of the



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security breach, constitutes unfair acts or practices under Federal Trade Commission Act, 15

U.S.C. § 45(a) because substantial injury to Class members was not reasonably avoidable by

consumers and is not offset by countervailing benefits to consumers or competition. 15 U.S.C. §

45(n); A.R.S. § 44-1522(C).

       133.    Jimmy John’s failure to promptly and adequately notify affected customers of the

Data Breach also served as an unlawful practice as it failed to act in accordance with Illinois law

that governed its corporate conduct as to all consumers. As set forth in Count II, Jimmy John’s

violated Section 10(b) of the Illinois Personal Information Protection Act, 815 ILCS 530/1, et

seq. The violation of 815 ILCS 530/10(b) is deemed “an unlawful practice” under Illinois’

Consumer Fraud and Deceptive Business Practices Act. 815 ILCS 530/20.

       134.    Plaintiff and the Arizona Subclass members have suffered injury in fact and actual

damages.

       135.    It was foreseeable that Jimmy John’s willful indifference or negligent course of

conduct in handling its customers’ personal and financial information would subject Plaintiff and

the Arizona Subclass to risk that their information would be compromised by unscrupulous third

parties, and Jimmy John’s unlawful conduct did, in fact, result in the Data Breach which has

harmed Plaintiff and the Arizona Subclass.

       136.    Plaintiff and the Arizona Subclass have suffered actual damages including,

including, among others, monetary loss from unauthorized bank account withdrawals and credit

card charges, incurred costs associated with the theft of their personal and financial information

including costs associated with reporting of the fraud, obtaining replacement cards and payment

means, costs incurred with the increased risk of identity theft including present and future costs

of credit monitoring services, higher interest charges due to an inability to obtain credit at lower



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interest rates, loss of use of their credit and debit cards, losses from their inability to obtain credit

card rewards stemming from the break in time caused by the cancellation and issuance of

replacement cards and card accounts that were subject of the breach and loss of use and control

of the property rights in their personal and financial information as a result of Jimmy Johns’

violations of the Arizona Consumer Fraud Act.

        137.    The fraudulent and deceptive acts of Jimmy John’s were the result of Jimmy

John’s wanton or reckless conduct and/or reckless indifference to the interest of others.

Accordingly, an award of punitive damages is appropriate.

        138.    Wherefore, Plaintiff prays for relief as set forth below.

                                              COUNT VIII
                             Violation of the Illinois Consumer Fraud and
                        Deceptive Business Practices Act, 815 ILCS 505/1, et seq
                            (on behalf of Plaintiff and the Illinois Subclass)

        139.    Plaintiff realleges and incorporates by reference every allegation set forth in the

preceding paragraphs as though alleged in this Count.

        140.    As a result of Jimmy John’s unlawful conduct alleged herein, Jimmy John’s

violated 815 ILCS 505/1, et seq., by failing to properly implement adequate, commercially

reasonable security measures to protect Plaintiff’s and the other Illinois Subclass members’

private financial information, by violating 815 ILCS 530/10(b), as alleged herein which is itself

deemed an “unlawful practice” under the Illinois Consumer Fraud and Deceptive Business

Practices Act. 815 ILCS 530/20.

        141.    Plaintiff and the Illinois Subclass members have suffered injury in fact and actual

damages, as alleged herein.

        142.    Wherefore, Plaintiff prays for relief as set forth below.




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                                             COUNT IX
                                       Declaratory Judgment
           (on behalf of Plaintiffs and the PIPA Nationwide Class or, Alternatively, the
          Separate Statewide Negligence and Breach of Implied Contract Classes)

       143.    Plaintiff realleges and incorporates by reference every allegation set forth in the

preceding paragraphs as though alleged in this Count.

       144.    As previously alleged, Plaintiff and members of the Breach of Implied Contract

classes entered into an implied contract that required Jimmy John’s to provide adequate security

for the personal information and financial data it collected from their credit and debit card

transactions. As previously alleged, Jimmy John’s owes duties of care to Plaintiff and the

members of the Nationwide class or, alternatively, the separate statewide Negligence classes,

that require it to adequately secure personal information and financial data

       145.    Jimmy John’s still possesses the personal information and financial data regarding

Plaintiff and the Class members.

       146.    After the Jimmy John’s data breach, Jimmy John’s announced changes that it

claimed would improve data security. These changes, however, did not fix many systemic

vulnerabilities in Jimmy Company’s computer systems or POS.

       147.    Accordingly, Jimmy John’s still has not satisfied its contractual obligations and

legal duties to Plaintiffs and the Class members. In fact, now that Jimmy Company’s lax

approach towards information security has become public, the personal information and financial

data in Jimmy Company’s possession is even more vulnerable.




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       148.    Actual harm has arisen in the wake of the Company’s data breach regarding its

contractual obligations and duties of care to provide security measures to Plaintiff and the

members of the Breach of Implied Contract and Negligence Classes. Jimmy John’s maintains

that its security measures now are adequate even though its changes are insufficient to meet

Jimmy Company’s contractual obligations and legal duties.

       149.    Plaintiff, therefore, seeks a declaration (a) that Jimmy Company’s existing

security measures do not comply with its contractual obligations and duties of care to provide

adequate security, and (b) that to comply with its contractual obligations and duties of care,

Jimmy John’s must implement and maintain reasonable security measures, including, but not

limited to: (1) ordering that Jimmy John’s engage third-party security auditors/penetration testers

as well as internal security personnel to conduct testing, including simulated attacks, penetration

tests, and audits on Jimmy Company’s systems on a periodic basis, and ordering Jimmy John’s

to promptly correct any problems or issues detected by such third-party security auditors; (2)

ordering that Jimmy John’s engage third-party security auditors and internal personnel to run

automated security monitoring; (3) ordering that Jimmy John’s audit, test, and train its security

personnel regarding any new or modified procedures; (4) ordering that Jimmy John’s segment

customer data by, among other things, creating firewalls and access controls so that if one area of

Jimmy John’s is compromised, hackers cannot gain access to other portions of Jimmy

Company’s systems; (5) ordering that Jimmy John’s purge, delete, and destroy in a reasonably

secure manner customer data not necessary for its provisions of services; (6) ordering that Jimmy

John’s conduct regular database scanning and securing checks; (7) ordering that Jimmy John’s

routinely and continually conduct internal training and education to inform internal security

personnel how to identify and contain a breach when it occurs and what to do in response to a



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breach; and (8) ordering Jimmy John’s to meaningfully educate its customers about the threats

they face as a result of the loss of their financial and personal information to third parties, as well

as the steps Jimmy John’s customers must take to protect themselves.


                                     PRAYER FOR RELIEF

       WHEREFORE, Plaintiff, on behalf of herself and the Classes set forth above,

respectfully requests the Court order relief and enter judgment against Defendant:

       A. certifying this case as a class action pursuant to Fed. R. Civ. P. 23(a), (b)(2) and

           (b)(3), and, pursuant to Fed. R. Civ. P. 23(g), appoint the named Plaintiff to be Class

           representative and their undersigned counsel to be Class counsel;

       B. requiring Defendants to make whole any losses suffered by Plaintiff and Class

           members;

       C. requiring Defendants to pay for three years of credit card fraud monitoring services;

       D. enjoining Defendants from further engaging in the unlawful conduct complained of

           herein and requiring Jimmy John’s to implement and maintain adequate security

           measures to ensure the security of Plaintiff and the members of the Class’ personal

           information and financial data that remains in the possession of Jimmy John’s;

       E. awarding Plaintiff and the Classes appropriate relief, including actual, statutory, and

           punitive damages, restitution and disgorgement;

       F. awarding pre-judgment and post-judgment interest;

       G. requiring Defendants to pay for notifying the Class of the pendency of this action;

       H. establishing a fluid recovery fund for distribution of unclaimed funds;

       I. requiring Defendants to pay Plaintiff’s and Class members reasonable attorneys’ fees,

           expenses, and the costs of this action; and

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       J. providing all other and further relief as this Court deems necessary, just, and proper.

                               DEMAND FOR TRIAL BY JURY

       Plaintiff demands a trial by jury on all issues so triable.

Dated: July 31, 2015                               Respectfully submitted:


                                               By: /s/ Matthew T. Hurst
                                                  Matthew T. Hurst, Esq.


                                                   Laurence M. Rosen, Esq.
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                                CERTIFICATE OF SERVICE

       I hereby certify that on July 31, 2015, I electronically filed the foregoing with the Clerk

of the Court using the CM/ECF system which sends notification of such filing to counsel to

Defendants as follows:

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       And I hereby certify that I have mailed by United States Postal Service the document to

the following non CM/ECF participants: None.

Dated: July 31, 2015                               Respectfully submitted:

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